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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 DJB HOLDINGS LLC,
             Plaintiff
        v.
                                                         Civil Action No. 1:17-00613 (CKK)
 DARWIN NATIONAL ASSURANCE
 COMPANY,
             Defendant


                                             ORDER
                                       (September 19, 2017)

    In light of the parties’ [15] Joint Stipulation of Dismissal With Prejudice, which indicates that
the parties stipulate and agree to dismiss this action with prejudice, with each party to bear their
own costs, attorney fees and expenses, it is, this 19th day of September, 2017, hereby

       ORDERED that this case is DISMISSED WITH PREJUDICE.

       SO ORDERED.


                                                          /s/
                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge
